Case 2:24-cv-06358-MEMF-MAR     Document 1-2    Filed 07/29/24   Page 1 of 11 Page
                                    ID #:102



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 11
 12 Attorneys for Chiquita Canyon, LLC,
    Chiquita Canyon, Inc., and Waste
 13 Connections US, Inc.
 14
                         UNITED STATES DISTRICT COURT
 15
           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 16
 17
    ALEJANDRA SUAREZ. an individual,           CASE NO.
 18 JUANA SUAREZ, an individual,
    SEBASTIAN SUKIASYAN, an                    DECLARATION OF STEVEN J.
 19 individual, VICTORIA SUMMER, an            CASSULO IN SUPPORT OF
    individual, MANJULA SYAL, an               DEFENDANTS’ NOTICE OF
 20 individual, JUDITH TADENA, an              REMOVAL
    individual, ABIGAIL TALO SIG, an
 21 individual, ALEA TALO SIG, an
    individual, BRYZ TALO SIG, an
 22 individual, MAURICE TALO SIG, an
    individual, MIKAELLA TALO SIG, an
 23 individual, ALEXANDER TAN, an
    individual, ANDRE TAN, an
 24 individual, GENEVIEVE TAN, an
    individual, KARLEE TAN, an
 25 individual, JOHN TAVOLIERI, an
    individual, TERESA TAVOLIERI, an
 26 individual, ELLIE TERRANOVA, an
    individual, JOSEPH TERRANOVA, an
 27 individual, KAITLYN TERRANOVA,
    an individual, MATTHEW
 28 TERRANOVA, an individual,

        DECLARATION OF STEVEN J. CASSULO IN SUPPORT OF DEFENDANTS’ NOTICE OF REMOVAL
Case 2:24-cv-06358-MEMF-MAR     Document 1-2       Filed 07/29/24   Page 2 of 11 Page
                                    ID #:103



  1 MICHELLE TERRANOVA, an
    individual, JOHN TITUS CLEMONS,
  2 an individual, MARILLELY
    TOCHIHUITL BUENO, an individual,
  3 BADROLMOLOUK TOFANGDAR,
    an individual, WILLIAM TORRES, an
  4 individual, ASHTON TRACY, an
    individual, HUNTER TRACY, an
  5 individual, OLIVE TRACY, an
    individual, SETH TRACY, an
  6 individual, ALMA TREJO, an
    individual, FELIPE TREJO, an
  7 individual, TIM TROTTER, an
    individual, JANET LEE TROTTER, an
  8 individual, CERMA TRINIDAD, an
    individual, JOSE TRINIDAD FLETES,
  9 an individual, LAURA TUREK, an
    individual, MADYSYN TUREK, an
 10 individual, MAKAILYN TUREK, an
    individual, MASON TUREK, an
 11 individual, ANNABELLE TURLA, an
    individual, ROMUALDO TURLA, an
 12 individual, NATALIE TUTTLE, an
    individual, WANDA TUTTLE, an
 13 individual, BARRETT TYRRELL, an
    individual, BRANDON TYRRELL, an
 14 individual, KAYLA TYRRELL, an
    individual, MARIE JOSEPHINE
 15 UMALI, an individual, JOSHUA
    URIEL OCHOA, an individual,
 16 STEPHEN VALENZUELA, an
    individual, MARTHA VANEGAS, an
 17 individual, KASSIDY VARGAS, an
    individual, ZENEN VARGAS, an
 18 individual, OSCAR VASQUEZ
    RAMIREZ, an individual, LUIS
 19 VEGA, an individual, LUCAS
    VENTURA, an individual, NORLAND
 20 VENTURA, an individual, ODETH
    ARIANNA VENTURA, an individual,
 21 DAVID VERDIN, an individual,
    GREGORY VIVIT, an individual,
 22 MARCELINA VIVIT, an individual,
    DANIELLE VILLEGAS, an individual,
 23 JOHN VILLEGAS, an individual,
    JULIA VILLEGAS, an individual,
 24 PAM VILLEGAS, an individual,
    PETER VILLEGAS, an individual,
 25 NICHOLAS VINCELLI, an individual,
    HEATHER VITALE-RASHTIAN, an
 26 individual, MORIAH VORGITCH, an
    individual, STEVEN VORGITCH, an
 27 individual, WINONA VORGITCH, an
    individual, BLAKE WALZ, an
 28 individual, CALEB WANG, an

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        DECLARATION OF STEVEN J. CASSULO IN SUPPORT OF DEFENDANTS’ NOTICE OF REMOVAL
Case 2:24-cv-06358-MEMF-MAR     Document 1-2       Filed 07/29/24   Page 3 of 11 Page
                                    ID #:104



  1 individual, ELIANA WANG, an
    individual, ELIZABETH WANG, an
  2 individual, TIMON WANG, an
    individual, TOBIAS WANG, an
  3 individual, AARON WARNER, an
    individual, SAMUEL WARNER, an
  4 individual, CATHERINE
    WEBERHUSCHITT, an individual,
  5 CHARLES WELDON, an individual,
    LISA WELDON, an individual,
  6 VIRGIL WEVER, an individual,
    ANABELLE WEXLER, an individual,
  7 DAVID WHEATON, an individual,
    LILY WHEATON, an individual, JOE
  8 WHEELER, an individual, ASHTON
    WHITAKER, an individual,
  9 CHRISTIAN WHITAKER, an
    individual, DASH WHITAKER, an
 10 individual, JULIE WHITAKER, an
    individual, WILLIAM WHITAKER, an
 11 individual, FAIDH WILSIN, an
    individual, BRITNEY WILSON, an
 12 individual, JEANNE WILSON, an
    individual, PAUL WILSON, an
 13 individual, GRACE WILSON
    CABRERA, an individual, DIVYA
 14 WISHARD, an individual, AMANDA
    WIRT, an individual, RUSSELL
 15 WOLFF, an individual, AUSTIN
    WOLFF, an individual, MADELINE
 16 WOLFF, an individual, WAYLON
    WOLFF, an individual, WAFE
 17 WOLFF, an individual, MIRANDA
    WOLFF, an individual, DAVE
 18 WRIGHT, an individual, HYUNSIK
    YOON, an individual, JOSHUA
 19 YOON, an individual, RYAN YOON,
    an individual, ACE YZRAEL
 20 FRANCO, an individual, ANDREW
    ZARAKOWSKI, an individual,
 21 CORRIE ZARAKOWSKI, an
    individual, EMILY ZARAKOWSKI, an
 22 individual, BETHANIE ZAZUETA, an
    individual, LAINIE ZAZUETA, an
 23 individual, SCOTT ZAZUETA, an
    individual, PAULA ZEPEDA, an
 24 individual, DENA ZINGELEWICZ, an
    individual, PHILLIP ZINGELEWICZ,
 25 an individual, KRISTOPHER
    LINCOLN, an individual. JOANN C.
 26 LOPEZ, an individual, WILLIAM
    KINSLEY, an individual, SHANE
 27 KINSLEY, an individual, SUSAN
    SARRASIN, an individual, JONA
 28 STOCKER, an individual, GREGORY

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        DECLARATION OF STEVEN J. CASSULO IN SUPPORT OF DEFENDANTS’ NOTICE OF REMOVAL
Case 2:24-cv-06358-MEMF-MAR     Document 1-2       Filed 07/29/24   Page 4 of 11 Page
                                    ID #:105



  1 JONATHAN STOCKER, an individual,
    MICHAEL SCHEKER, an individual,
  2 EVELINA GRIGORIAN, an individual,
    ANDREW SCHEKER, an individual,
  3 BRENDA GOMEZ, an individual,
    JOSE FIGUERA, an individual,
  4 MARCELA FIGUERA, an individual,
    CAMILA NAVARRO, an individual,
  5 ALAN DAVID, an individual, TINA
    DAVID, an individual, VINCENT
  6 DAVID, an individual, GABRIELLA
    DAVID, an individual, DOMINICK
  7 DAVID, an individual,
  8              Plaintiffs,
  9        vs.
 10 CHIQUITA CANYON, LLC, a
    Delaware Limited Liability Company;
 11 CHIQUITA CANYON, INC., a
    Delaware Corporation; WASTE
 12 CONNECTIONS US, INC., a Delaware
    Corporation; and DOES 1-150,
 13 inclusive,
 14              Defendants.
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        DECLARATION OF STEVEN J. CASSULO IN SUPPORT OF DEFENDANTS’ NOTICE OF REMOVAL
Case 2:24-cv-06358-MEMF-MAR        Document 1-2       Filed 07/29/24   Page 5 of 11 Page
                                       ID #:106



   1                      DECLARATION OF STEVEN J. CASSULO
   2         I, Steven J. Cassulo, declare as follows:
   3         1.      I am the District Manager of the Chiquita Canyon Landfill (the
   4 "Landfill"), which is owned and operated by Chiquita Canyon, LLC ("Chiquita"), a
   5 party in the above-entitled action. I have personal knowledge of the facts set forth
   6 herein, which are known by me to be true and correct, and if called as a witness, I
   7 could and would competently testify thereto. Because this declaration is made for a
   8 limited purpose, it does not purport to set forth all of my knowledge about the facts
   9 contained herein.
   10        2.      I am an employee of Chiquita. My responsibilities at Chiquita include
   11 management of day-to-day operations of the Landfill, representation of the Landfill
   12 before State and local agencies, ensuring regulatory compliance, and oversight of
   13 performance metrics.
   14        3.      Based on my work, I am personally familiar with the corporate
   15 structure of Chiquita and its related entities. Chiquita is a Delaware limited liability
   16 corporation, with a principal place of business in The Woodlands, Texas. Chiquita
   17 is wholly owned by Chiquita Canyon, Inc., a Delaware corporation with a principal
   18 place of business in The Woodlands, Texas. Chiquita Canyon, Inc. is itself wholly
   19 owned by Waste Connections US, Inc. Waste Connections US, Inc. is incorporated
   20 in Delaware with its principal place of business located in The Woodlands, Texas.
   21 Waste Connections US, Inc. is in tum, wholly owned by Waste Connections, Inc.,
   22 Chiquita's ultimate parent. Waste Connections, Inc. is an Ontario, Canada
   23 corporation with a principal place of business in The Woodlands, Texas.
   24         4.     The Landfill is a 639-acre municipal solid waste landfill located in Los
   25 Angeles County that has been in operation since 1974. I am informed and on that
   26 basis believe, that from 1974 to 1987, the Landfill was owned by Chiquita Canyon
   27 Landfill Company. Operation of the Landfill was transferred to Laidlaw Waste
   28 Systems, Inc., in 1987, Allied Waste Services, Inc., in 1996, and USA Waste

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                   DECLARATION OF STEVEN J. CASSULO IN SUPPORT OF NOTICE OF REMOVAL
Case 2:24-cv-06358-MEMF-MAR        Document 1-2       Filed 07/29/24   Page 6 of 11 Page
                                       ID #:107



    1 Services Company in 1997. In January 1999, Republic Services acquired the
    2 Landfill from US Waste Services Company. None of these companies have any
    3 corporate relationship to Chiquita or any of its parent companies. In 2009, Chiquita
    4 Canyon, Inc. acquired the membership interests of Chiquita (f/k/a Republic Services
    5 of California I, LLC) from Republic Services.
    6        5.      Chiquita holds all the permits for the Landfill. No other entity holds
    7 the permits for the Landfill. All Notices of Violation ("NOVs") received by the
    8 Landfill from the South Coast Air Quality Management District referenced in the
    9 Complaint have been addressed solely to Chiquita or the Landfill. Attached as
   10 Exhibit A is a sampling of such NOVs.
   11        6.      I am not aware of any involvement by WC-California, Inc. with any
   12 Landfill management, ownership, operations or decision-making.
   13        7.      Chiquita is not financially dependent on WC-California. WC-
   14 California does not pay any expenses or losses of Chiquita.
   15        8.      Chiquita pays state and federal taxes as required and has its own federal
   16 EIN.
   17        I declare under penalty of perjury under the laws of the State of California
  18 that the foregoing is true and correct.
  19                        22, 2024, at Castaic, California.
             Executed April _
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                  DECLARATION OF STEVEN J. CASSULO IN SUPPORT OF NOTICE OF REMOVAL
Case 2:24-cv-06358-MEMF-MAR   Document 1-2   Filed 07/29/24   Page 7 of 11 Page
                                  ID #:108




                    EXHIBIT A
                           Case 2:24-cv-06358-MEMF-MAR                                                                             Document 1-2                            Filed 07/29/24                           Page 8 of 11 Page
                                                                                                                                       ID #:109                                                                                                                                                .- .r,
                                       South Coast Air Quality Ml?4nagement District
        .• r                           21865 COPLEY DRIVE, DIAMOND BAR, CA 91765-4178
                                                                                                                                                                                                                                                     DATE OF VIOLATION



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  .            YOU ARE HEREBY NOTIFIED THAT YOU HAVE BEEN CITED FOR ONE OR MORE VIOLATIONS OF THE SOUTH COAST AIR QUALITY MANAGEMENT
               DISTRICT (SCAQMD) RULES , STATE LAW OR FEDERAL LAW. IF PROVEN, SUCH VIOLATION(S) MAY RESULT IN THE IMPOSITION OF CIVIL OR
                                                                                                                                                                                                                                                                                                     •
               CRIMINAL PENALTIES .
 .•            EACH DAY A VIOLATION OCCURS MAY BE HANDLED AS A SEPARATE OFFENSE REGARDLESS OF WHETHER OR NOT ADDITIONAL NOTICES OF
               VIOLATION ARE ISSUED.

                DESCRIPTION OF VIOLATIONS                                                                                                                                                                                                                          •   I

                                                                      SCAQMD Permit to
                                            Code Section                                                          Condition No.
                #         Authority*                                   Operate or GARB                                                                                                 Description of Violation
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                "Key to Authority Abb revia tions:                                                                                                                                                        Method of Service:

                                               SCAQMD - South Coast Air 9_'!ality Management District                                            CH&SC - California Health and Safety Code                          /
                                                                                                                                                                                                          Q1 n Person                                        □ Certified Mail
                                                                                                                                                 CFR - Code of Federal Regulations
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                                               CCR - California Code of Reg ulations

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                              Case 2:24-cv-06358-MEMF-MAR                                                                         Document 1-2                               Filed 07/29/24                      Page 9 of 11 Page
                                                South Coast Air Quality Management District
                                                                                   ID #:110
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                   YOU ARE HEREBY NOTIFIED THAT YOU HAVE BEEN CITED FOR ONE OR MORE VIOLATIONS OF THE SOUTH COAST AIR QUALITY MANAGEMENT
                   DISTRICT (SCAQMD) RULES, STATE LAW OR FEDERAL LAW. IF PROVEN , SUCH VIOLATION(S) MAY RESULT IN THE IMPOSITION OF CIVIL OR
                   CRIMINAL PENALTIES.

                   EACH DAY A VIOLATION OCCURS MAY BE HANDLED AS A SEPARATE OFFENSE REGARDLESS OF WHETHER OR NOT ADDITIONAL NOTICES OF
                   VIOLATION ARE ISSUED.


                   DESCRIPTION OF VIOLATIONS                                                                                                                                        ..                                 ...   -                         .. .._
                                                                           SCAQMD Permit to
                                                 Code Section                                                         Condition No.
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                   •Key to Authority Abbreviations:                                                                                                                                                           Meth od of Service:

                                                      SCAQMD - South Coast Ai r Quality Management District
                                                      CCR - California Code of Regulations
                                                                                                                                                 CH&SC - California Health and Safety Code
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                  Facility Na me:                     T                                                                                                                                                                                                                                 Facility ID#:                                         Sector:
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                  YOU ARE HEREBY NOTIFIED THAT YOU HAVE BEEN CITED FOR ONE OR MORE VIOLATIONS OF THE SOUTH COAST AIR QUALITY MANAGEMENT
     • •          DISTRICT (SCAQMD) RULES , STATE LAW OR FEDERAL LAW. IF PROVEN, SUCH VIOLATION(S) MAY RESULT IN THE IMPOSITION OF CIVIL OR
                  CRIMINAL PENALTIES.
                  EACH DAY A VIOLATION OCCURS MAY BE HANDLED AS A SEPARATE OFFENSE REGARDLESS OF WHETHER OR NOT ADDITIONAL NOTICES OF
                  VIOLATION ARE ISSUED.


,I                DESCRIPTION OF VIOLATIONS
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                                                                                          SCAQMD Permit to
                                                      Code Section                                                                Condition No.
                  #            Authority*                                                  Operate or GARB                                                                                                                          Description of Violation
                                                       or Rule No.                                                                    (If Applicable)
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                   'Key to Auth ority Abbreviations:                                                                                                                                                                                                              Method of Service:

                                                          SCAQMO - South Coasl Air Quality Managemenl District                                               CH&SC - California Health and Safety Code
                                                          CCR - Californ ia Code of Re gulalions                                                             CFR - Code of Federal Regulations                                                                    f2ef In Person                                       □ Certified Mail
                                       -

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Case 2:24-cv-06358-MEMF-MAR   Document 1-2   Filed 07/29/24             Page 11 of 11 Page
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                NOTICE OF VIOLATION                    ·oi. lz; ¼
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